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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,


v.                                      ORDER
                                        Criminal File No. 06-16(1) (MJD/AJB)

(1) JORGE ORTIZ PINEDA,

                    Defendant.

______________________________________________________________________

W. Anders Folk, Esq., Assistant United States Attorney, Counsel for Plaintiff.
James Brian Sheehy, Esq., Counsel for Defendant.
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      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Arthur J. Boylan dated

February 28, 2006. Plaintiff Jorge Ortiz Pineda has filed no objections to the

Report and Recommendation.

      Pursuant to statute, the Court has conducted a de novo review of the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.1(c). Based on that review the

Court adopts the Report and Recommendation dated February 28, 2006.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

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      1.    The Magistrate Judge’s Report and Recommendation dated February
            28, 2006, [Docket No. 57] is hereby ADOPTED.

      2.    Defendant Jorge Ortiz Pineda’s Motion for Severance of Defendants
            [Docket No. 22] is DENIED;

      3.    Defendant Pineda’s Motion to Suppress Evidence Obtained as a
            Result of Search and Seizure [Docket No. 25] is DENIED.




Dated: April 14, 2006                       s / Michael J. Davis
                                            Judge Michael J. Davis
                                            United States District Court




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